Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 1 of 23


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     PALM BEACH DIVISION
                                          CASE NO:

   ORLANDIS CORONA,

           Plaintiff,

   v.

   CLASSICA CRUISE OPERATOR,
   LTD, INC. d/b/a MARGARITAVILLE
   AT SEA, MARGARITAVILLE AT SEA,
   LLC.,

         Defendant.
   __________________________________/


                                             COMPLAINT

         COMES NOW, Plaintiff, ORLANDIS CORONA, (hereinafter “CORONA”) by and

  through her undersigned counsel, and files her Complaint suing the Defendants, CLASSICA

  CRUISE OPERATOR LTD, INC D/B/A MARGARITAVILLE AT SEA (hereinafter

  "CLASSICA") and MARGARITAVILLE AT SEA, LLC. (hereinafter “MARGARITAVILLE”)

  states as follows:


                             JURISDICTION, VENUE, AND PARTIES

         1.       CORONA is a citizen of the United States of America, residing in the state of

  Florida, at the address above captioned, and therefore diversity exists.

         2.       This Court has diversity subject matter jurisdiction pursuant to 28 U.S.C. § 1332 as

  this is a civil action in which the matter in controversy far exceeds the sum or value of $75,000.00,

  exclusive of interest and costs, and is between citizens of different States and/or citizens of a State

  and citizens or subjects of a foreign state.

         3.       Admiralty jurisdiction exists pursuant to 28 U.S.C. §1333.
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 2 of 23


         4.      That Defendant, CLASSICA, is a foreign corporation, authorized to do, and

  doing business, in the State of Florida, and did business in Florida as CLASSICA, providing

  cruising voyages to paying passengers, and owned and/or operated a cruising vessel known as

  the “Margaritaville at Sea Paradise”.

         5.      That Defendant, MARGARITAVILLE, is a foreign corporation, authorized to

  do, and doing business, in the State of Florida, and did business in Florida as

  MARGARITAVILLE, providing cruising voyages to paying passengers, and owned and/or

  operated a cruising vessel known as the “Margaritaville at Sea Paradise”.

         6.      At all material times, Defendants have conducted ongoing substantial and not

  isolated business activities in Palm Beach County, Florida, in the Southern District of Florida,

  so that in personal jurisdiction over the Defendants exists in the United States District Court

  for the Southern District of Florida.

         7.      At all material times, the Defendants have engaged in the business of operating

  maritime cruise vessels for paying passengers, including the Plaintiff.

         8.      In the operative ticket contract, the Defendants requires fare-paying passengers

  such as the Plaintiff, to bring any lawsuit against the Defendants arising out of injuries or events

  occurring on the cruise voyage in this federal judicial district. Accordingly, venue is proper in

  this Court.

         9.      Venue is also proper in this district because the Defendants principal places of

  business are located within this district.

         10.     Plaintiff has complied with all conditions precedent to bringing this action.

                                   GENERAL ALLEGATIONS

         11.     At all material times, the Defendants were engaged in the business of operating

  maritime cruise vessels for fare paying passengers and for this purpose operated, among other

  vessels, the MARGARITAVILLE AT SEA PARADISE.
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 3 of 23


          12.     At all material times, Defendants operated, managed, maintain and were in

  exclusive control of the MARGARITAVILLE AT SEA PARADISE.

          13.     At all material times, including the injury date of May 13, 2023, the Plaintiff was a

  fare paying passenger aboard the MARGARITAVILLE AT SEA PARADISE (the "subject

  vessel”) and in that capacity was lawfully present aboard the vessel.


          14.     On or about May 13, 2023, Plaintiff, CORONA, was enjoying a night of music and

  dancing at the Hemisphere Nightclub aboard the subject vessel, located on deck 14, when she

  slipped and fell on a foreign substance on the dance floor, causing her to fall to the floor, landing

  on her left hand. The fall causing the Plaintiff to fracture her left wrist.

          15.     Plaintiff contends the condition was not open and obvious to the Plaintiff or others

  similarly situated as to excuse the Defendants from its failure to warn.

          16.     Plaintiff contends the condition created was in front of the crew staff, in particular,

  the bartenders, who failed to clean up the condition.


  COUNT I – NEGLIGENT MAINTAINANCE AS TO DEFENDANT, CLASSICA CRUISE
             OPERATOR LTD, INC D/B/A MARGARITAVILLE AT SEA

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above

  as if alleged fully herein.

          17.     At all material times, including the injury date of May 13, 2023, the subject vessel

  were owned, operated, or controlled by Defendant, CLASSICA.

          18.     At all material times, Defendant, CLASSICA, owed Plaintiff, as a fare-paying

  passenger lawfully onboard a passenger vessel it operated, a duty of reasonable care under the

  circumstances, including the duty to take reasonable steps to maintain the dance floor where

  Plaintiff was injured, in a reasonably safe condition and free of conditions that could cause injury

  to the passengers and crew. Furthermore, Defendant, CLASSICA, owed a duty of reasonable care
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 4 of 23


  under the circumstances, including the duty to take reasonable steps to maintain the dance floor

  where Plaintiff slipped and fell, in a reasonably safe condition.

         19.      Defendant and/or its agents, servants and/or employees breached its duty of

  reasonable care under the circumstances to Plaintiff through the following acts and/or
  omissions:

               a. Failure to provide reasonably safe dance floor, free of dangers,

                  including unreasonably hazardous foreign substances;

               b. Failure to promulgate and/or enforce adequate policies and procedures for

                   safety of passengers using the wet dance floor;

               c. Failure to adequately train crewmembers in the proper method of

                  maintaining the dance floor of hazardous conditions, i.e. a wet dance

                  floor;

               d. Failure to analyze prior accidents aboard Defendant’s vessels occurring in

                   the same area(s) and/or so as to remedy such hazardous conditions including,

                   so to avoid hazardous situations;

               e. Failure to promulgate and/or enforce adequate policies and/or procedures

                   regarding the damaged and hazardous wet dance floor, so that it creates an

                   unreasonably dangerous hazard and/or condition to the fare-paying

                   passengers;

               f. Failure to have adequate risk management procedures in place designed to

                   reduce the occurrence of the type of accident suffered by Plaintiff;

               g. Knowing from previous similar incidents of the likelihood of such an

                   accident yet failing to take steps to correct the conditions causing the

                   accident.
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 5 of 23



                h. By engaging in a negligent mode of operation that caused or allowed

                     dangerous condition and/or defect to exist on the subject vessel;

                i.   Negligently maintaining the dance floor by causing or allowing the dance

                     floor to exist be wet and thus creating an unreasonably safe manner of

                     operation for that dance floor, making it unreasonably dangerous and

                     failed to discover and remedy the dangerous condition, resulting in the fall

                     of Plaintiff, causing severe injuries and damages to Plaintiff; and

                j.   By allowing passengers to take drinks onto the dance floor where a spill

                     of a drink is easily predictable.

          20.        At all material times, CLASSICA knew or should in the exercise of reasonable

  care have known of the dangerous condition of the wet5 dance floor as referenced above.

          21.        Defendant, CLASSICA’s has actual and/or constructive notice that its flooring

  becomes slippery, and therefore unreasonably dangerous, when wet. This is evidenced by,

  inter alia:

                     a.     Defendant keeps records of each slip and fall;

                     b.     Defendant has had many claims/lawsuits brought against it, alleging

                            slippery flooring on their nightclub dance floors;

                     c.     Defendant trains all of their employees to be on the look-out for liquid

                            on the floor; and

                     d.     Defendant trains all of their employees to clean floor areas where liquid

                            is detected.

          22.        Notwithstanding CLASSICA’s actual or constructive knowledge of the

  dangerous condition of the wet dance floor where Plaintiff slipped and fell, CLASSICA failed

  before the time of the Plaintiff's injury to take reasonable measures to maintain the dance
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 6 of 23



  floor of the nightclub on deck 14 in a reasonably safe condition by correcting its dangerous

  condition, by closing the entrance to the dance floor at the nightclub on deck 14. Alternatively,

  repair the defect that caused the Plaintiff’s fall and subsequent injuries. CLASSICA thereby

  failed to exercise reasonable care for the safety of its passengers including the Plaintiff and

  was thereby negligent.

          23.     Defendant is vicariously for the negligent acts of the Defendant’s employees and

  as such “a passenger need not establish that a shipowner had actual or constructive notice of a risk-

  creating condition to hold a shipowner liable for the negligent acts of its employees.” Yusko v.

  NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v. Carnival; Case

  No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

          24.     At all material times the dangerous condition of the dance floor in the nightclub

  on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

          25.     As a direct and proximate result of CLASSICA’s negligence as described above

  the Plaintiff slipped and fell and has thereby sustained and will continue in the future to sustain

  the damages alleged above.

          26.     As a direct and proximate result of the event described above, Plaintiff was

  injured in and about her body and extremities. She suffered pain therefrom, mental anguish,

  disfigurement, and the inability to lead a normal life. Furthermore, she incurred medical,

  hospital, and other out of pocket and health care expenses as a result of her injuries, the future

  medical and health care expenses being reasonably certain to occur. She also sustained

  aggravation or acceleration of preexisting conditions. These damages are permanent or

  continuing in their nature and the Plaintiff will continue to sustain and incur these damages in

  the future.
          WHEREFORE, the Plaintiff demands judgment against CLASSICA for damages suffered
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 7 of 23


  as a result of the alleged accident and injury including pain and suffering, disability, physical

  impairment, disfigurement, mental anguish, inconvenience, aggravation or acceleration of

  preexisting conditions, loss of capacity for the enjoyment of life, hospitalization, medical and

  nursing care and treatment and lost earnings experienced in the past and to be experienced in the

  future together with all taxable court costs and prejudgment interest.

    COUNT II- NEGLIENCE-FAILURE TO INSPECT AS TO DEFENDANT, CLASSICA

             CRUISE OPERATOR LTD, INC D/B/A MARGARITAVILLE AT SEA

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above as

  if alleged fully herein.

          27.     At all material times, including the injury date of May 13, 2023, the subject vessel

  was and is owned, operated, or controlled by CLASSICA.

          28.     At all material times, CLASSICA owed Plaintiff, as a fare-paying passenger

  lawfully onboard a passenger vessel it operated, a duty of reasonable care under the circumstances,

  including the duty to take reasonable steps to inspect the dance floor of its nightclub on deck 14

  where Plaintiff slipped and fell and as a product of same was injured, to make sure it was in a

  reasonably safe condition and free of conditions that could cause injury to the passengers and crew.

          29.     Defendant and/or its agents, servants and/or employees breached its duty of

  reasonable care under the circumstances to Plaintiff through the following acts and/or omissions:

                  a.         Failure to provide a reasonably safe dance floor, free of dangers, including

                             unreasonably hazards as water and/or foreign substances on the dance floor

                             that can cause their vessel patrons to slip and fall;

                  b.         Failure to promulgate and/or enforce adequate policies and procedures for

                             safety of passengers using the dance floor of the nightclub on deck 14;
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 8 of 23


                 c.      Failing to inspect the dance floor in the nightclub on deck 14, at regular

                         intervals, to prevent the condition, causing Plaintiffs’ injuries from

                         occurring;

                 d.      Failure to have adequate risk management procedures in place designed to

                         reduce the occurrence of the type of accident suffered by Plaintiff;

                 e.      By negligently and carelessly failing to inspect the subject vessel, and to

                         warn the public, including Plaintiff, of the dangerous condition that existed

                         on the subject vessel; to wit the wet dance floor at the nightclub on deck 14;

                         and

                 f.      By negligently and carelessly failing to avoid having the passengers taking

                         drinks onto the dance floor where a spill of the drink is easily predictable.

          30.    At all material times, CLASSICA knew or should in the exercise of reasonable care

  have known of the dangerous condition of the dance floor at the nightclub on deck 14 as referenced

  above. The condition that caused the Plaintiff’s fall should/could have been detected with a

  reasonable inspection as this type of condition should/would/could not manifest itself in sure a

  short period of time to not provide a reasonable time to inspect and detect the dangerous condition.

          31.    Defendant, CLASSICA’s has actual and/or constructive notice that its flooring

  becomes slippery, and therefore unreasonably dangerous, when wet. This is evidenced by, inter

  alia:

                 a.      Defendant keeps records of each slip and fall;

                 b.      Defendant has had many claims/lawsuits brought against it, alleging

                         slippery flooring on their nightclub dance floors;

                 c.      Defendant trains all of their employees to be on the look-out for liquid

                         on the floor; and

                 d.      Defendant trains all of their employees to clean floor areas where liquid
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 9 of 23


                         is detected.

         32.     Notwithstanding CLASSICA’s actual or constructive knowledge of the dangerous

  condition of the dance floor at the nightclub on deck 14 where Plaintiff slipped and fell,

  CLASSICA failed before the time of the Plaintiff's injury to take reasonable measures to maintain

  the dance floor of the nightclub on deck 14 in a reasonably safe condition by correcting its

  dangerous condition, by closing the entrance to the dance floor. Alternatively, repair the defect

  that caused the Plaintiff’s fall and subsequent injuries. CLASSICA thereby failed to exercise

  reasonable care for the safety of its passengers including the Plaintiff and was thereby negligent.

         33.     Defendant is vicariously for the negligent acts of the Defendant’s employees and

  as such “a passenger need not establish that a shipowner had actual or constructive notice of a risk-

  creating condition to hold a shipowner liable for the negligent acts of its employees.” Yusko v.

  NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v. Carnival; Case

  No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

         34.     At all material times the dangerous condition of the wet dance floor at the nightclub

  on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

         35.     As a direct and proximate result of CLASSICA’s negligence as described above

  the Plaintiff slipped and fell and has thereby sustained and will continue in the future to sustain

  the damages alleged above.

         36.     As a direct and proximate result of the event described above, Plaintiff was injured

  in and about her body and extremities. She suffered pain therefrom, mental anguish, disfigurement,

  and the inability to lead a normal life. Furthermore, she incurred medical, hospital, and other out

  of pocket and health care expenses as a result of her injuries, the future medical and health care

  expenses being reasonably certain to occur. She also sustained aggravation or acceleration of

  preexisting conditions. These damages are permanent or continuing in their nature and the Plaintiff

  will continue to sustain and incur these damages in the future.
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 10 of 23


          WHEREFORE, the Plaintiff demands judgment against CLASSICA for damages suffered

  as a result of the alleged accident and injury including pain and suffering, disability, physical

  impairment, disfigurement, mental anguish, inconvenience, aggravation or acceleration of

  preexisting conditions, loss of capacity for the enjoyment of life, hospitalization, medical and

  nursing care and treatment and lost earnings experienced in the past and to be experienced in the

  future together with all taxable court costs and prejudgment interest.

    COUNT III – NEGLIGENT FAILURE TO WARN AS TO DEFENDANT, CLASSICA

             CRUISE OPERATOR LTD, INC D/B/A MARGARITAVILLE AT SEA

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above

  as if alleged fully herein.

          37.      At all material times, including the injury date of May 13, 2023, the subject

  vessel was and is owned, operated, or controlled by CLASSICA.

          38.      At all material times, CLASSICA owed Plaintiff, as a fare-paying passenger

  lawfully onboard the subject vessel it operated, a duty of reasonable care, including the duty

  to take reasonable steps to warn passengers, such as Plaintiff.

          39.      Defendant and/or its agents, servants and/or employees breached its duty to

  warn the Plaintiff through the following acts and/or omissions:

                a. Failing to adequately warn of injury risks created by the condition of the

                   wet dance floors at the nightclub on deck 14, including securing clean-up

                   and maintenance of the dance floor, in order to ensure the safety of all fare-

                   paying passengers, including the Plaintiff;

                b. Failure to warn the Plaintiff of the unreasonably dangerous condition of the

                   subject area; i.e. the foreign substance spilled on the dance floor at the

                   nightclub on deck 14;
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 11 of 23



                c. Failure to warn the Plaintiff that the subject area becomes unreasonably

                   slippery and hazardous when wet;

                d. Failure to warn the Plaintiff of the risks and/or dangers associated with the

                   unreasonably slippery and dangerous dance floor at the nightclub on deck 14;

                e. Failure to warn passengers and the Plaintiff of other accidents previously

                   occurring in same area due to foreign substances on the dance floor, making

                   it unreasonably dangerous and failed to warn of that dangerous condition,

                   resulting in the slip and fall of Plaintiff, causing severe injuries and damages

                   to Plaintiff;

                f. Failure to warn fare paying passengers that dancing on the dance floor when

                   the dance floor is wet was dangerous and/or hazardous condition thereby

                   causing a slipping hazard; and

                g. Failure to warn the fare paying passengers that drinks were allowed to be

                   taken onto the dance floor, where a spill of the drink is easily predictable.

          40.      At all material times, CLASSICA knew or should in the exercise of reasonable

  care have known of the dangerous condition of the dance floor at the nightclub on deck 14 as

  referenced above.

          41.      Defendant, CLASSICA’s has actual and/or constructive notice that its flooring

  becomes slippery, and therefore unreasonably dangerous, when wet. This is evidenced by,

  inter alia:

                   a.      Defendant keeps records of each slip and fall;

                   b.      Defendant has had many claims/lawsuits brought against it, alleging

                           slippery flooring on their nightclub dance floors;

                   c.      Defendant trains all of their employees to be on the look-out for liquid
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 12 of 23



                         on the floor; and

                 d.      Defendant trains all of their employees to clean floor areas where liquid

                         is detected.

         42.     Notwithstanding CLASSICA’s actual or constructive knowledge of the

  dangerous condition of the dance floor at the nightclub on deck 14 where Plaintiff slipped and

  fell, CLASSICA failed before the time of the Plaintiff's injury to take reasonable measures to

  maintain the dance floor at the nightclub on deck 14 in a reasonably safe condition by

  correcting its dangerous condition, by closing the entrance to dance floor at the nightclub on

  deck 14. Alternatively, repair the defect that caused the Plaintiff’s slip and fall and subsequent

  injuries. CLASSICA thereby failed to exercise reasonable care for the safety of its passengers

  including the Plaintiff and was thereby negligent.

         43.     Defendant is vicariously for the negligent acts of the Defendant’s employees

  and as such “a passenger need not establish that a shipowner had actual or constructive notice

  of a risk-creating condition to hold a shipowner liable for the negligent acts of its employees.”

  Yusko v. NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v.

  Carnival; Case No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

         44.     At all material times the dangerous condition of the wet dance floor at the

  nightclub on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

         45.     As a direct and proximate result of CLASSICA’s negligence as described above

  the Plaintiff slipped and fell and has thereby sustained and will continue in the future to sustain

  the damages alleged above.

         46.     As a direct and proximate result of the event described above, Plaintiff was

  injured in and about her body and extremities. She suffered pain therefrom, mental anguish,

  disfigurement, and the inability to lead a normal life. Furthermore, she incurred medical,
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 13 of 23



  hospital, and other out of pocket and health care expenses as a result of her injuries, the future

  medical and health care expenses being reasonably certain to occur. She also sustained

  aggravation or acceleration of preexisting conditions. These damages are permanent or

  continuing in their nature and the Plaintiff will continue to sustain and incur these damages in

  the future.

          WHEREFORE, the Plaintiff demands judgment against CLASSICA for damages

  suffered as a result of the alleged accident and injury including pain and suffering, disability,

  physical impairment, disfigurement, mental anguish, inconvenience, aggravation or

  acceleration of preexisting conditions, loss of capacity for the enjoyment of life,

  hospitalization, medical and nursing care and treatment and lost earnings experienced in the

  past and to be experienced in the future together with all taxable court costs and prejudgment

  interest.
                COUNT IV – NEGLIGENT MAINTAINANCE AS TO DEFENDANT,
                             MARGARITAVILLE AT SEA, LLC

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above

  as if alleged fully herein.

          47.     At all material times, including the injury date of May 13, 2023, the subject vessel

  were owned, operated, or controlled by Defendant, MARGARITAVILLE.

          48.     At all material times, Defendant, MARGARITAVILLE, owed Plaintiff, as a fare-

  paying passenger lawfully onboard a passenger vessel it operated, a duty of reasonable care under

  the circumstances, including the duty to take reasonable steps to maintain the dance floor where

  Plaintiff was injured, in a reasonably safe condition and free of conditions that could cause injury

  to the passengers and crew. Furthermore, Defendant, MARGARITAVILLE, owed a duty of

  reasonable care under the circumstances, including the duty to take reasonable steps to maintain

  the dance floor where Plaintiff slipped and fell, in a reasonably safe condition.
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 14 of 23



         49.      Defendant and/or its agents, servants and/or employees breached its duty of

  reasonable care under the circumstances to Plaintiff through the following acts and/or
  omissions:

               a. Failure to provide reasonably safe dance floor, free of dangers,

                  including unreasonably hazardous of the foreign substances;

               b. Failure to promulgate and/or enforce adequate policies and procedures for

                   safety of passengers using the wet dance floor;

               c. Failure to adequately train crewmembers in the proper method of

                  maintaining the dance floor of hazardous conditions, i.e. a wet dance

                  floor;

               d. Failure to analyze prior accidents aboard Defendant’s vessels occurring in

                   the same area(s) and/or so as to remedy such hazardous conditions including,

                   so to avoid hazardous situations;

               e. Failure to promulgate and/or enforce adequate policies and/or procedures

                   regarding the damaged and hazardous wet dance floor, so that it creates an

                   unreasonably dangerous hazard and/or condition to the fare-paying

                   passengers;

               f. Failure to have adequate risk management procedures in place designed to

                   reduce the occurrence of the type of accident suffered by Plaintiff;

               g. Knowing from previous similar incidents of the likelihood of such an

                   accident, yet failing to take steps to correct the conditions causing the

                   accident;

               h. By engaging in a negligent mode of operation that caused or allowed

                   dangerous condition and/or defect to exist on the subject vessel;
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 15 of 23



                 i.   Negligently maintaining the dance floor by causing or allowing the dance

                      floor to exist be wet and thus creating an unreasonably safe manner of

                      operation for that dance floor, making it unreasonably dangerous and

                      failed to discover and remedy the dangerous condition, resulting in the fall

                      of Plaintiff, causing severe injuries and damages to Plaintiff; and

                 j.   By allowing passengers to take drinks onto the dance floor, where a spill

                      of the drink is easily predictable.

           50.        At all material times, MARGARITAVILLE knew or should in the exercise of

  reasonable care have known of the dangerous condition of the wet5 dance floor as referenced

  above.

           51.        Defendant, MARGARITAVILLE’s has actual and/or constructive notice that

  its flooring becomes slippery, and therefore unreasonably dangerous, when wet. This is

  evidenced by, inter alia:

                      a.     Defendant keeps records of each slip and fall;

                      b.     Defendant has had many claims/lawsuits brought against it, alleging

                             slippery flooring on their nightclub dance floors;

                      c.     Defendant trains all of their employees to be on the look-out for liquid

                             on the floor; and

                      d.     Defendant trains all of their employees to clean floor areas where liquid

                             is detected.

           52.        Notwithstanding MARGARITAVILLE’s actual or constructive knowledge of

  The dangerous condition of the wet dance floor where Plaintiff slipped and fell,

  MARGARITAVILLE failed before the time of the Plaintiff's injury to take reasonable

  measures to maintain the dance floor of the nightclub on deck 14 in a reasonably safe condition
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 16 of 23



  by correcting its dangerous condition, by closing the entrance to the dance floor of the

  nightclub on deck 14. Alternatively, repair the defect that caused the Plaintiff’s fall and

  subsequent injuries. MARGARITAVILLE thereby failed to exercise reasonable care for the

  safety of its passengers including the Plaintiff and was thereby negligent.

          53.     Defendant is vicariously for the negligent acts of the Defendant’s employees and

  as such “a passenger need not establish that a shipowner had actual or constructive notice of a risk-

  creating condition to hold a shipowner liable for the negligent acts of its employees.” Yusko v.

  NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v. Carnival; Case

  No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

          54.     At all material times the dangerous condition of the dance floor in the nightclub

  on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

          55.     As a direct and proximate result of MARGARITAVILLE’s negligence as

  described above the Plaintiff slipped and fell and has thereby sustained and will continue in

  the future to sustain the damages alleged above.

          56.     As a direct and proximate result of the event described above, Plaintiff was

  injured in and about her body and extremities. She suffered pain therefrom, mental anguish,

  disfigurement, and the inability to lead a normal life. Furthermore, she incurred medical,

  hospital, and other out of pocket and health care expenses as a result of her injuries, the future

  medical and health care expenses being reasonably certain to occur. She also sustained

  aggravation or acceleration of preexisting conditions. These damages are permanent or

  continuing in their nature and the Plaintiff will continue to sustain and incur these damages in

  the future.
          WHEREFORE, the Plaintiff demands judgment against MARGARITAVILLE for damages

  suffered as a result of the alleged accident and injury including pain and suffering, disability,

  physical impairment, disfigurement, mental anguish, inconvenience, aggravation or acceleration
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 17 of 23


  of preexisting conditions, loss of capacity for the enjoyment of life, hospitalization, medical and

  nursing care and treatment and lost earnings experienced in the past and to be experienced in the

  future together with all taxable court costs and prejudgment interest.

           COUNT V- NEGLIENCE-FAILURE TO INSPECT AS TO DEFENDANT,

                                MARGARITAVILLE AT SEA, LLC

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above as

  if alleged fully herein.

          57.     At all material times, including the injury date of May 13, 2023, the subject vessel

  was and is owned, operated, or controlled by MARGARITAVILLE.

          58.     At all material times, MARGARITAVILLE owed Plaintiff, as a fare-paying

  passenger lawfully onboard a passenger vessel it operated, a duty of reasonable care under the

  circumstances, including the duty to take reasonable steps to inspect the dance floor of its nightclub

  on deck 14 where Plaintiff slipped and fell and as a product of same was injured, to make sure it

  was in a reasonably safe condition and free of conditions that could cause injury to the passengers

  and crew.

          59.     Defendant and/or its agents, servants and/or employees breached its duty of

  reasonable care under the circumstances to Plaintiff through the following acts and/or omissions:

          a.      Failure to provide a reasonably safe dance floor, free of dangers, including

                  unreasonably hazards as water and/or foreign substances on the dance floor that can

                  cause their vessel patrons to slip and fall;

          b.      Failure to promulgate and/or enforce adequate policies and procedures for safety of

                  passengers using the dance floor of the nightclub on deck 14;

          c.      Failing to inspect the dance floor in the nightclub on deck 14, at regular intervals,

                  to prevent the condition, causing Plaintiffs’ injuries from occurring;
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 18 of 23


          d.        Failure to have adequate risk management procedures in place designed to reduce

                    the occurrence of the type of accident suffered by Plaintiff;

          e.        By negligently and carelessly failing to inspect the subject vessel, and to warn the

                    public, including Plaintiff, of the dangerous condition that existed on the subject

                    vessel; to wit the wet dance floor at the nightclub on deck 14; and

          f.        By negligently and carelessly failing to avoid having the passengers taking drinks

                    onto the dance floor where a spill of the drink is easily predictable.

          60.       At all material times, MARGARITAVILLE knew or should in the exercise of

  reasonable care have known of the dangerous condition of the dance floor of the nightclub on deck

  14 as referenced above. The condition that caused the Plaintiff’s fall should/could have been

  detected with a reasonable inspection as this type of condition should/would/could not manifest

  itself in sure a short period of time to not provide a reasonable time to inspect and detect the

  dangerous condition.

          61.       Defendant, MARGARITAVILLE’s has actual and/or constructive notice that its

  flooring becomes slippery, and therefore unreasonably dangerous, when wet. This is evidenced

  by, inter alia:

                    a.     Defendant keeps records of each slip and fall;

                    b.     Defendant has had many claims/lawsuits brought against it, alleging

                           slippery flooring on their nightclub dance floors;

                    c.     Defendant trains all of their employees to be on the look-out for liquid

                           on the floor; and

                    d.     Defendant trains all of their employees to clean floor areas where liquid

                           is detected.

          62.       Notwithstanding MARGARITAVILLE’s actual or constructive knowledge of the

  dangerous condition of the dance floor in the nightclub on deck 14 where Plaintiff slipped and fell,
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 19 of 23


  MARGARITAVILLE failed before the time of the Plaintiff's injury to take reasonable measures

  to maintain the dance floor of the nightclub on deck 14 in a reasonably safe condition by correcting

  its dangerous condition, by closing the entrance to the dance floor. Alternatively, repair the defect

  that caused the Plaintiff’s to slip and fall and subsequent injuries. MARGARITAVILLE thereby

  failed to exercise reasonable care for the safety of its passengers including the Plaintiff and was

  thereby negligent.

         63.     Defendant is vicariously for the negligent acts of the Defendant’s employees and

  as such “a passenger need not establish that a shipowner had actual or constructive notice of a risk-

  creating condition to hold a shipowner liable for the negligent acts of its employees.” Yusko v.

  NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v. Carnival; Case

  No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

         64.     At all material times the dangerous condition of the wet dance floor at the nightclub

  on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

         65.     As a direct and proximate result of MARGARITAVILLE’s negligence as described

  above the Plaintiff slipped and fell and has thereby sustained and will continue in the future to

  sustain the damages alleged above.

         66.     As a direct and proximate result of the event described above, Plaintiff was injured

  in and about her body and extremities. She suffered pain therefrom, mental anguish, disfigurement,

  and the inability to lead a normal life. Furthermore, she incurred medical, hospital, and other out

  of pocket and health care expenses as a result of her injuries, the future medical and health care

  expenses being reasonably certain to occur. She also sustained aggravation or acceleration of

  preexisting conditions. These damages are permanent or continuing in their nature and the Plaintiff

  will continue to sustain and incur these damages in the future.

         WHEREFORE, the Plaintiff demands judgment against MARGARITAVILLE for
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 20 of 23


  damages suffered as a result of the alleged accident and injury including pain and suffering,

  disability, physical impairment, disfigurement, mental anguish, inconvenience, aggravation or

  acceleration of preexisting conditions, loss of capacity for the enjoyment of life, hospitalization,

  medical and nursing care and treatment and lost earnings experienced in the past and to be

  experienced in the future together with all taxable court costs and prejudgment interest.

            COUNT VI – NEGLIGENT FAILURE TO WARN AS TO DEFENDANT,

                                 MARGARITAVILLE AT SEA, LLC

          Plaintiff re-alleges all allegations pled in paragraphs one (1) through sixteen (16) above

  as if alleged fully herein.

          67.      At all material times, including the injury date of May 13, 2023, the subject

  vessel was and is owned, operated, or controlled by MARGARITAVILLE.

          68.      At all material times, MARGARITAVILLE owed Plaintiff, as a fare-paying

  passenger lawfully onboard the subject vessel it operated, a duty of reasonable care, including

  the duty to take reasonable steps to warn passengers, such as Plaintiff.

          69.      Defendant and/or its agents, servants and/or employees breached its duty to

  warn the Plaintiff through the following acts and/or omissions:

                a. Failing to adequately warn of injury risks created by the condition of the

                   wet dance floors at the nightclub on deck 14, including securing clean-up

                   and maintenance of the dance floor, in order to ensure the safety of all fare-

                   paying passengers, including the Plaintiff;

                b. Failure to warn the Plaintiff of the unreasonably dangerous condition of the

                   subject area; i.e. the foreign substance spilled on the dance floor at the

                   nightclub on deck 14;
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 21 of 23



               c. Failure to warn the Plaintiff that the subject area becomes unreasonably

                  slippery and hazardous when wet;

               d. Failure to warn the Plaintiff of the risks and/or dangers associated with the

                  unreasonably slippery and dangerous dance floor at the nightclub on deck 14;

               e. Failure to warn passengers and the Plaintiff of other accidents previously

                  occurring in same area due to foreign substances on the dance floor, making

                  it unreasonably dangerous and failed to warn of that dangerous condition,

                  resulting in the slip and fall of Plaintiff, causing severe injuries and damages

                  to Plaintiff;

               f. Failure to warn fare paying passengers that dancing on the dance floor when

                  the dance floor is wet was dangerous and/or hazardous condition thereby

                  causing a slipping hazard, and

               g. Failure to warn the fare paying passengers that drinks were allowed to be taken

                  onto the dance floor, where a spill of the drink is easily predictable.

         70.      At all material times, MARGARITAVILLE knew or should in the exercise of

  reasonable care have known of the dangerous condition of the dance floor of the nightclub on

  deck 14 as referenced above.

         71.      Defendant, MARGARITAVILLE’s has actual and/or constructive notice that

  its flooring becomes slippery, and therefore unreasonably dangerous, when wet. This is

  evidenced by, inter alia:

                  a.      Defendant keeps records of each slip and fall;

                  b.      Defendant has had many claims/lawsuits brought against it, alleging

                          slippery flooring on their nightclub dance floors;

                  c.      Defendant trains all of their employees to be on the look-out for liquid
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 22 of 23



                         on the floor; and

                 d.      Defendant trains all of their employees to clean floor areas where liquid

                         is detected.

         72.     Notwithstanding MARGARITAVILLE’s actual or constructive knowledge of

  the dangerous condition of the dance floor at the nightclub on deck 14 where Plaintiff slipped

  and fell, MARGARITAVILLE failed before the time of the Plaintiff's injury to take reasonable

  measures to maintain the dance floor at the nightclub on deck 14 in a reasonably safe condition

  by correcting its dangerous condition, by closing the entrance to dance floor at the nightclub

  on deck 14. Alternatively, repair the defect that caused the Plaintiff’s slip and fall and

  subsequent injuries. MARGARITAVILLE thereby failed to exercise reasonable care for the

  safety of its passengers including the Plaintiff and was thereby negligent.

         73.     Defendant is vicariously for the negligent acts of the Defendant’s employees

  and as such “a passenger need not establish that a shipowner had actual or constructive notice

  of a risk-creating condition to hold a shipowner liable for the negligent acts of its employees.”

  Yusko v. NCL (Bahamas), Ltd., 4 F.4th 1164, 1170 (11th Cir. 2021). See also McLean v.

  Carnival; Case No.: 22-CV-23187-Scola, Ecf. No. 26; (dated January 24, 2023).

         74.     At all material times the dangerous condition of the wet dance floor at the

  nightclub on deck 14 referenced above was neither known, open nor obvious to the Plaintiff.

         75.     As a direct and proximate result of MARGARITAVILLE’s negligence as

  described above the Plaintiff slipped and fell and has thereby sustained and will continue in

  the future to sustain the damages alleged above.

         76.     As a direct and proximate result of the event described above, Plaintiff was

  injured in and about her body and extremities. She suffered pain therefrom, mental anguish,

  disfigurement, and the inability to lead a normal life. Furthermore, she incurred medical,
Case 9:24-cv-80602-AMC Document 1 Entered on FLSD Docket 05/10/2024 Page 23 of 23



  hospital, and other out of pocket and health care expenses as a result of her injuries, the future

  medical and health care expenses being reasonably certain to occur. She also sustained

  aggravation or acceleration of preexisting conditions. These damages are permanent or

  continuing in their nature and the Plaintiff will continue to sustain and incur these damages in

  the future.

          WHEREFORE, the Plaintiff demands judgment against MARGARITAVILLE for

  damages suffered as a result of the alleged accident and injury including pain and suffering,

  disability, physical impairment, disfigurement, mental anguish, inconvenience, aggravation or

  acceleration of preexisting conditions, loss of capacity for the enjoyment of life,

  hospitalization, medical and nursing care and treatment and lost earnings experienced in the

  past and to be experienced in the future together with all taxable court costs and prejudgment

  interest.

                                  DEMAND FOR JURY TRIAL

      The Plaintiff hereby demands trial by jury of all issues so triable of right.

          Submitted this 10th of May, 2024.


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